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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ANNA ULUBIYO,                         :
                                      :
          Plaintiff,                  :
                                      :
          v.                          : CIVIL ACTION NO.
                                      : 1:20-CV-4362-WMR-JSA
HEALTHCARE REVENUE RECOVERY :
GROUP, LLC, d/b/a Account Resolutions :
Services,                             :
                                      :
          Defendant.                  :
                             SCHEDULING ORDER

      Upon review of the Joint Preliminary Report and Discovery Plan [10] (“JPR”)

filed by the parties, the Court approves the deadlines therein, and ORDERS that the

time limits for adding parties, amending pleadings, filing motions, completing

discovery, filing a proposed pretrial order, and discussing settlement are as set out

in the Federal Rules of Civil Procedure and the Local Rules of this Court except as

herein modified.

      In the JPR, the parties checked “yes” in response to the question “Is there any

question regarding this court’s jurisdiction?” JPR at 5. The JPR instructs that, if the

response is “yes,” the objecting party must attach a statement explaining the

jurisdictional objection, and that “[e]ach objection should be supported by

authority.” Id. However, the parties failed to attach any statement explaining the
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jurisdictional objection. Accordingly, to the extent that any party has an objection to

this Court’s jurisdiction over this case, the party must submit a statement within

fourteen (14) days of the date of this Order, in accordance with the requirements set

forth in the JPR, that sets forth the jurisdictional objection and provides authority to

support its argument that this Court does not have jurisdiction over this case.

      This case has been assigned to a four-month discovery track and, pursuant to

the Local Rules of this Court, the discovery period, including discovery from third

parties, ends on May 10, 2021. See LR 26.2A, NDGa (the discovery period begins

thirty days after the first defendant files an answer). The parties are advised that, if a

discovery dispute arises between the parties that is unable to be resolved

through a live (in-person or at least telephonic) conference between counsel,

counsel and pro se litigants are required to contact the chambers of the

undersigned by telephone jointly, with their adversary on the line, before filing

a motion. If successive attempts to contact the adversary are unsuccessful, if the

adversary refuses to contact the Court jointly, or if there is some other good cause

for why a joint call could not be accomplished, the initiating party may send a letter,

not to exceed two (2) pages, describing the discovery issue for which relief is sought

and the reason why no joint call was made. This letter must be copied on all

adversaries. Motions to compel, motions for protective order, motions for sanctions


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or any other motion arising out of a discovery dispute should ordinarily not be filed

without a prior conference with the Court.

      The Court encourages all parties to work with each other to allow for

depositions to occur at least partially by video conference during the pendency of

the COVID-19 pandemic and to otherwise agree to reasonable procedures to

maximize social distancing and to protect all participants against unnecessary risk.

As with all other disputes, the Court will entertain requests for orders relating to

deposition procedure, but requires and expects the parties to work together in good

faith to try to avoid the necessity of bringing those disputes to the Court.

      Pursuant to Local Rule 16.4, the parties must file a proposed pretrial order no

later than thirty (30) days after the close of discovery, or entry of the court’s ruling

on any motions for summary judgment, whichever is later. See LR 16.4, NDGa. The

Court extends the deadline for filing a proposed consolidated pretrial order until

forty (40) days after the close of the discovery period, or, in the event that any party

files a motion for summary judgment, until thirty (30) days after the district court’s

final ruling on all pending motions for summary judgment, whichever is later.

Normally, motions for summary judgment are resolved based on the submissions.

However, the Court will liberally grant any request for oral argument made within

seven days of the filing of either party’s principal brief so long as a certification is


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made that a lawyer with no more than five years’ experience since being admitted to

a bar will handle the oral argument on behalf of one of the parties.

      IT IS SO ORDERED this 12th day of January, 2021.


                                       __________________________________
                                       JUSTIN S. ANAND
                                       UNITED STATES MAGISTRATE JUDGE




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